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UNITED S'I`ATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

 

UNITED STATES OF AMERICA -:__;'. '

_vS_ Case No. 2:97cr20061-Ml

BILLY T. SEVERENCE

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT
Upon motion of the Governrnent, it is ORDERED that a detention hearing is set for
FRIDAY, JUNE 17, 2005 at 2:30 P.M. before United States Magistrate Judge Tu M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North l\/lain,
Mernphis, TN. Pending this hearing, the defendant shall be held in custody by the United States

Marsha] and produced for the hearing

Date: June 14, 2005
1

 

 

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

‘If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1°) are present Subsection (l ) sets forth
the grounds that may be asserted only by the attorney for the government subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (BfBS] Order of Temporary Detentlcn

This document entered on the docket sheet in co plianee
Wlth Huie 55 and/or 32(h) FHCFP on v '

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:97-CR-20061 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

